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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA            *     CRIMINAL DOCKET NO. 22-22
                                    *
VERSUS                              *     SECTION: “H”
                                    *
STACIE WHEATON                      *     MAGISTRATE SECTION “3”
                                    *
******************************************************************************
                                   ORDER
******************************************************************************


Considering the foregoing motion which is GRANTED, IT IS ORDERED that ARIS W. COX,

VI, is WITHDRAWN and REMOVED as Attorney of record for Defendant Stacie Wheaton.



      New Orleans, Louisiana, this 13th day of February, 2023.



                                          _________________________________________
                                                JUDGE JANE TRICHE MILAZZO
                                           UNITED STATES DISTRICT COURT JUDGE
